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 6

 7

 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10

11    YAQUELIN SEVASTIANA ORDONEZ,                    Case No. 2:20-cv-2779
12
      an individual,
                                                      COMPLAINT FOR
13                            Plaintiff,              DAMAGES

14    vs.                                             1. Unlawful Vehicle Impound -
                                                      42 U.S.C. § 1983
15    WARREN A. STANLEY, CHARLES
      SAMPSON, SGT. A. BRAAKSMA                       2. Substantive and Procedural
16    (#16551), SGT. S. POOL (#14242),                Due Process - 42 U.S.C. § 1983
17
      OFFICER E. BAILEY (#22360) and
      Does 1 through 10, all sued in their            3. Unlawful Taking - 42 U.S.C.
18    individual capacities                           § 1983

19                            Defendants.             4. Violation of Cal. Civil Code
                                                      § 52.1
20
                                                      5. Violation of Cal.
21                                                    Constitution Art. I, §13
22
                                                      DEMAND FOR JURY TRIAL
23

24

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 1   I.    JURISDICTION AND VENUE.
 2         1. Plaintiff’s claims arise under 42 U.S.C. §1983 and state law. Accordingly,
 3
     federal jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343. The
 4
     Court has supplemental jurisdiction over the state law claims under 28 U.S.C. § 1367(a).
 5
           2. Plaintiff’s claims arise out of, inter alia, acts of personnel employed by the
 6
     California Highway Patrol (“CHP”), acts which caused injury to Plaintiff in the County
 7

 8
     of Los Angeles. Accordingly, venue is proper within the Central District of California.

 9   II.   PARTIES.

10         3. Plaintiff Yaquelin Sevastiana Ordonez, an individual, is and was at all times
11   relevant hereto, a resident of the County of Los Angeles.
12         4. Defendant Warren A. Stanley (“Stanley”), an individual, was and is the
13
     Commissioner of the California Highway Patrol (“CHP”). Plaintiff sues Stanley in his
14
     individual capacity only.
15
           5. Defendant Charles Sampson (“Sampson”), an individual and CHP captain, was
16
     at all times material hereto, the commanding officer of the CHP’s Central Los Angeles
17

18
     station. Plaintiff sues Sampson in his individual capacity only.

19         6. Defendants Sgt. A. Braaksma (#16551) (“Braaksma”) and Sgt. S. Pool (#14242)

20   (“Pool”), individuals and CHP sergeants, were at all times material hereto, supervisors
21   assigned to the CHP’s Central Los Angeles station. Plaintiff sues Braaksma and Pool in
22   their individual capacities only.
23
           7. Defendant Officer E. Bailey (#22360) (“Bailey”) an individual and CHP patrol
24
     officer, was at all times material hereto, a patrol officer assigned to the CHP’s Central Los
25
     Angeles station. Plaintiff sues Bailey in his individual capacity only.
26
           8. Plaintiff is ignorant of the true names and capacities of defendants sued herein
27

28
     as DOES, and therefore sues these defendants by fictitious names. Plaintiff will give

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 1   notice of their true names and capacities when ascertained. Plaintiff is informed and
 2   believes and thereon alleges that defendant DOES are responsible in some manner for the
 3   damages and injuries hereinafter complained of.
 4            9. The complained of acts and omissions were performed by persons within the
 5
     course and scope of employment with their employer, the CHP. All acts and omissions
 6
     were under color of state law.
 7
     III.     FACTS COMMON TO ALL CLAIMS.
 8
              A. CHP VEHICLE IMPOUND POLICY.
 9

10            10. Plaintiff is informed and believes and thereon alleges that defendant Stanley

11   has personally approved an official policy, hereinafter “Impound Policy,” by which a
12   CHP officer may direct or cause a vehicle to be seized and impounded for 30 days
13   without a warrant whenever the officer concludes one or more of the following conditions
14   exist:
15
              A. The vehicle’s driver has never been issued a driver’s license; or
16
              B. The driver’s license for the vehicle’s driver is suspended or revoked; or
17
              C. The driver can only drive a vehicle with a functioning, certified interlock device,
18
     and the vehicle the driver is driving lacks such a device.
19

20            11. Under the Impound Policy, when the vehicle is impounded for 30 days the

21   CHP bars the vehicle’s owner from reclaiming possession of her vehicle and instead,
22   directs that the vehicle be held at a tow yard designated by the CHP. The Impound Policy
23   prohibits the vehicle’s owner from reclaiming possession even though (a) the owner is
24
     a validly licensed driver or has a licensed driver available to drive the vehicle; (b) is
25
     willing and able to reclaim possession; (c) has the statutorily required vehicle insurance;
26
     (d) is tending payment of accrued administrative fees and storage charges; and (e) the
27
     vehicle is not posing a danger to public safety.
28

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 1         12. Under the Impound Policy, both the initial vehicle seizure and subsequent 30-
 2   day vehicle impoundment are made without warrants or judicial review of any type.
 3         13. During the 30 days or more the vehicle is impounded, vehicle storage charges
 4   are accruing which, per the Impound Policy, must be paid in full before the vehicle will
 5
     be released even in cases where the 30-day impound period has expired. If not paid, the
 6
     privately-owned storage yard will sell the vehicle at a lien sale to satisfy the unpaid
 7
     storage charges and administrative fees. If the amount recovered by the lien sale is
 8
     insufficient to pay outstanding storage charges and administrative fees, the vehicle’s
 9

10   (former) registered owner remains liable to the tow yard for the difference. Typically,

11   following a 30-day vehicle impound administrative fees and storage charges add up to
12   about $2,000 or more.
13         14. By virtue of this Impound Policy, the vehicle’s owner is deprived of her
14   property and possessory interests and rights in the vehicle. For example, the vehicle
15
     owner cannot sell the vehicle even to a licensed driver because she does not have current
16
     possession or control of the vehicle, and is unable to prevent the accumulated storage fees
17
     (which often results in the sale of the vehicle at a lien sale auction because either the
18
     storage fees exceed the vehicle’s value or the storage fees have become so high that the
19

20   owner does not have the funds to pay them).

21         15. The Impound Policy provides no mechanism for judicial review of a 30-day
22   impound and no constitutionally adequate administrative hearing mechanism to challenge
23   the lawfulness of the 30-day impounds.
24
           16. Further, the Impound Policy’s requirements on notice, if implemented as
25
     written, would not allow for timely notice to the vehicle’s owner of an impoundment. The
26
     notices sent pursuant to the Impound Policy or provided at the time of initial seizure, state
27
     the impounds are mandatory 30-day impounds. Thus, the notices communicate to a
28

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 1   person whose vehicle was impounded that the vehicle will be kept for a minimum of 30
 2   days, and misleads the owner to believe that any attempt to seek the return of the vehicle
 3   in less than 30 days is effectively meaningless. Even if the owner could produce a valid
 4   driver’s license or a licensed driver to drive the car off the impound lot within the first
 5
     30 days of impoundment, a plain reading of the text of the Impound Policy does not
 6
     inform someone of their right to claim the vehicle with their own license or a licensed
 7
     driver at a time they could afford to pay the one day initial impound fee or a few days of
 8
     storage fees. The notice effectively informs the vehicle owner that the fact the vehicle was
 9

10   seized without a warrant will not be a basis for the vehicle’s release.

11         17. Since the impound here was pursuant to Cal. Vehicle Code § 16402.6, pursuant
12   to the Impound Policy CHP officers apply its provisions. Consequently, the only means
13   of contesting the lawfulness of a § 16402.6(a)(1) thirty-day impound is requesting a
14   hearing under Vehicle Code § 22852. But pursuant to the CHP’s Impound Policy, at a
15
     §22852 tow hearing the vehicle’s registered owner is limited to two arguments: either that
16
     there are “mitigating circumstances,” the definition of which is not provided in the
17
     Vehicle Code; or establishing the invalidity of the initial decision to have the vehicle
18
     removed from the street. Furthermore, pursuant to Art. III §3.5 of the California
19

20   Constitution, a § 22852 hearing official cannot adjudicate the constitutionality of a 30-

21   day impound without a warrant. Thus, the CHP’s Impound Policy provides no
22   constitutionally adequate remedy for vehicle owners to contest the lawfulness of the 30-
23   day impounds.
24
           B.     THE SEIZURE AND THIRTY-DAY IMPOUND OF PLAINTIFF’S
25
                  VEHICLE.
26
           18. Plaintiff was, at all times relevant to this lawsuit, the registered owner of a
27
     2009 Toyota Matrix passenger vehicle.
28

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 1         19. On October 24, 2019 at about 8:30 a.m., at or near the freeway interchange of
 2   the I-5 southbound and the I-10 westbound, defendant CHP Officer Bailey stopped
 3   Francisco Gomez Lopez (Plaintiff’s spouse) while he was driving Plaintiff’s vehicle.
 4   Plaintiff’s spouse was on his way home after dropping Plaintiff off at school, and was
 5
     only a short distance from home. In the course of the traffic stop, the officer seized and
 6
     impounded Plaintiff’s vehicle under Cal. Veh. Code § 14602.6(a)(1), on grounds Mr.
 7
     Lopez was driving on a suspended license.
 8
           20. Defendant Bailey had the car towed away even though there was no
 9

10   community caretaking justification for the tow -- Mr. Lopez informed the officer a

11   licensed driver (Plaintiff’s sister) would be there in minutes to legally drive the car away.
12   Nevertheless, Bailey imposed a 30-day impound on Plaintiff’s vehicle. The seizure and
13   vehicle impound were made without a warrant or judicial review of any kind.
14         21. The following day, on October 25, 2019, Plaintiff requested that officials
15
     assigned to the CHP Central Los Angeles office release her vehicle from the 30-day
16
     impound. She was accompanied by Diego Gomez, a California licensed driver. They
17
     spoke with Defendant Sgt. Pool. First, Sgt. Pool refused to allow Ms. Ordonez and Mr.
18
     Gomez to record the conversation with Sgt. Pool (a violation of Plaintiff’s First and
19

20   Fourteenth Amendment rights). Second, even though Ms. Ordonez offered to pay all

21   towing and accrued storage charges and even though Sgt. Pool was informed that Mr.
22   Gomez, a licensed California driver, could and would lawfully drive Ms. Ordonez’s
23   Toyota from the vehicle storage lot, Sgt. Pool refused to release the vehicle. That is,
24
     Plaintiff is informed and based thereon alleges that even though Sgt. Pool knew the
25
     vehicle had current registration and was insured, and further knew there was no safety or
26
     other community caretaking justification that justified the refusal to release the vehicle,
27
     Sgt. Pool refused to do so. Plaintiff is informed and based thereon alleges Sgt. Pool was
28

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 1   claiming that since the vehicle was subject to a 30-day Cal. Veh. Code § 14602.6
 2   impound, the vehicle could not be released unless Plaintiff could show justification for
 3   early release per the statute (e.g., subdivisions (d) or (f) of §14602.6).
 4         22. Plaintiff also attended a storage hearing on October 30, 2019 wherein CHP
 5
     Officials, including defendant Braaksma, again refused to release Plaintiff’s vehicle.
 6
           23. By letter delivered via facsimile and mail to Defendants Stanley and Sampson
 7
     on October 25, 2019, by and through her counsel Plaintiff made a written request to CHP
 8
     Captain Sampson, for the release of her vehicle. The letter stated inter alia, that the
 9

10   CHP’s refusal to release the vehicle was wrongful and in violation of decisions such as

11   Brewster v. Beck, 859 F.3d 1194 (9th Cir. 2017) and Sandoval v. County of Sonoma, 912
12   F.3d 509 (9th Cir. 2018). See Exhibit A hereto, a true copy of the letter. Defendants
13   ignored Plaintiff’s request, and no one has ever responded to Plaintiff’s counsel’s written
14   request.
15
           24. Plaintiff is informed and believes and based thereon alleges that defendants’
16
     objective in refusing to release Plaintiff’s vehicle was to punish Plaintiff for having
17
     allowed her vehicle to be driven by an unlicensed driver or a driver who was driving on
18
     a suspended license.
19

20         25. Plaintiff is informed and believes and based thereon alleges that defendant

21   Stanley personally approved the Impound Policy and its application to the seizure of
22   Plaintiff’s vehicle. Plaintiff is further informed and believes and based thereon alleges
23   that this defendant gave such approval even though he was informed the application of
24
     the Impound Policy to the circumstances described above was contrary to controlling
25
     Ninth Circuit law. These allegations are based on the following:
26
           A. Plaintiff is informed that shortly after the Ninth Circuit issued its Brewster
27
           decision (decided June 21, 2017) former CHP Commissioner Farrow was informed
28

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 1         of the Brewster decision and that the Impound Policy was inconsistent with
 2         Brewster. Despite being so informed and despite having the power and obligation
 3         to update and revise the Impound Policy so as to be consistent with the Fourth
 4         Amendment, Farrow refused to do so.
 5
           B. Plaintiff is informed and believes and based thereon alleges that via letter
 6
           delivered in early December 2017, Defendant Stanley, then acting CHP
 7
           Commissioner, was informed that the CHP was enforcing the Impound Policy
 8
           contrary to law and in contravention of the Brewster holding. Despite being so
 9

10         informed, Stanley refused to take any remedial steps. Plaintiff is informed and

11         based thereon alleges that instead, Stanley sanctioned the continued enforcement
12         of the Impound Policy in violation of law.
13         C. Plaintiff is informed and believes and based thereon alleges that continuing up
14         through the present, with the knowledge and acquiescence of defendant Stanley,
15
           CHP officers have regularly seized and impounded vehicles under § 14602.6 in
16
           violation of Brewster.
17
           D. Stanley was informed, in writing, of the unlawful 30-day impound of Plaintiff’s
18
           vehicle, including why it was unlawful. Despite being so informed, Stanley refused
19

20         to direct that his subordinates respect the Brewster and Sandoval decisions and

21         thereby, authorize the release of Plaintiff’s vehicle as she had requested.
22         26. Subsequently, following expiration of the 30-day impound the CHP imposed,
23   Plaintiff was forced to pay Brian’s Toledo Towing Service $2,350 for her vehicle’s
24
     return.
25
     ///
26
     ///
27
     ///
28

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 1           FIRST CAUSE OF ACTION -UNLAWFUL VEHICLE IMPOUND
 2                                       42 U.S.C. § 1983
 3                                  (As Against All Defendants)
 4          27. By this reference, Plaintiff re-alleges and incorporates all previous and
 5
     following paragraphs as if fully set forth herein.
 6
            28. The seizure and 30-day impoundment of Plaintiff’s vehicle violated the Fourth
 7
     Amendment in that the seizure and impoundment was (a) made without a warrant and (b)
 8
     did not fall within an exception to the warrant requirement, e.g., during the 30-day
 9

10   impoundment Plaintiff’s vehicle did not present a threat to public safety. Plaintiff is

11   therefore entitled to recover compensatory and punitive damages from each defendant
12   proximately caused by the wrongful seizure and 30-day impoundment.
13        SECOND CAUSE OF ACTION - SUBSTANTIVE AND PROCEDURAL
14                                DUE PROCESS - 42 U.S.C. § 1983
15
           (As against Defendants Stanley, Sampson, Braaksma, Pool and DOES)
16
            29. Plaintiff re-alleges and incorporates all previous and following paragraphs as
17
     if fully set forth herein.
18
            30. Plaintiff is informed and believes and based thereon alleges that when
19

20   defendants imposed, sanctioned, authorized and/or condoned the 30-day impound on

21   Plaintiff’s vehicle pursuant to the Impound Policy and Cal. Veh. Code § 14602.6(a)(1)
22   without a warrant or any form of judicial review, Defendants Stanley, Sampson,
23   Braaksma, Pool and DOES did so in order to impose an “administrative penalty” for
24
     among other reasons, to deter Plaintiff from letting an unlicensed driver drive her vehicle.
25
            31. Moreover, by imposing the 30-day vehicle impound without a warrant or any
26
     form of judicial review, the above-mentioned defendants caused Plaintiff to lose
27
     possession and use of her vehicle for 30 days. Plaintiff incurred this loss even though (a)
28

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  1   she has not been adjudicated guilty of any crime arising from the October 24, 2019
  2   vehicle seizure, and (b) Plaintiff informed Defendants she was willing to pay all accrued
  3   towing and storage charges, and to reclaim possession of her vehicle with a licensed
  4   California driver.
  5
            32. Defendants’ 30-day impound of Plaintiff’s vehicle was arbitrary and capricious
  6
      in that Defendants could satisfy any legitimate community caretaking need by seizing and
  7
      removing the vehicle pursuant to Cal. Veh. Code §22651(p) rather than by a 30-day
  8
      impound pursuant to Cal. Veh. Code §14602.6(a)(1).
  9

 10         33. The 30-day impoundment of Plaintiff’s vehicle constituted the imposition of

 11   a punitive sanction. Kokesh v. Securities and Exchange Commission, ___ U.S. ___, 137
 12   S.Ct. 1635, 1643-44 (2017): “Sanctions imposed for the purpose of deterring infractions
 13   of public laws are inherently punitive because ‘deterrence (is) not (a) legitimate
 14   nonpunitive governmental objectiv(e).’ Bell v. Wolfish, 441 U.S. 520, 539, n.20 (1979);
 15
      see also United States v. Bajakajian, 524 U.S. 321, 329, 118 S.Ct. 2028, 141 L.Ed.2d 314
 16
      (1998) (‘Deterrence ... has traditionally been viewed as a goal of punishment’).” Because
 17
      defendants punished Plaintiff without judicial or quasi-judicial review, defendants
 18
      violated Plaintiff’s substantive and/or procedural due process rights. Bell v. Wolfish, 441
 19

 20   U.S. 520, 536 (1979) (“For under the Due Process Clause, a detainee may not be punished

 21   prior to an adjudication of guilt in accordance with due process of law.”); Wong Wing v.
 22   United States, 163 U.S. 228, 237 (1896) (Statute authorizing executive branch to impose
 23   summary punishment on aliens subject to deportation, violated due process).
 24
            34. Moreover, demanding that Plaintiff pay fees to reclaim possession of her
 25
      vehicle was the imposition of de facto monetary penalties even though Plaintiff had not
 26
      been adjudicated guilty of any crime arising from the seizure of her vehicle. The
 27
      imposition of this financial penalty thus constituted a further violation of Plaintiff’s due
 28

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  1   process rights. Nelson v. Colorado, 581 U.S. ___, 137 S.Ct. 1249, 1255-56 (2017) (The
  2   State “may not presume a person, adjudged guilty of no crime, nonetheless guilty enough
  3   for monetary exactions. . . [U]nder the Due Process Clause, [an individual] who has not
  4   been adjudged guilty of any crime may not be punished.”).
  5
             35.   Further, Defendants’ refusal to provide or allow a hearing where the
  6
      lawfulness of the warrantless 30-day impound could be challenged, their failure to
  7
      provide a hearing before a neutral party, their failure to provide any judicial review of
  8
      their warrantless seizures, their failure to provide meaningful remedies to remedy their
  9

 10   unlawful conduct, their failure to provide notice of the owner’s right to retrieve the car

 11   in less than 30 days as required by the Fourth Amendment, and their providing false and
 12   misleading information to the car’s driver and the car’s owner that the owner was not
 13   lawfully entitled to retrieve the car in less than 30 days, all violate due process of law.
 14          36. The aforementioned acts of Defendants and each of them directly and
 15
      proximately caused Plaintiff to be deprived of her rights as stated above, thereby entitling
 16
      this Plaintiff to recover compensatory damages proximately caused by Defendants’
 17
      wrongful acts.
 18
                     THIRD CAUSE OF ACTION - UNLAWFUL TAKING
 19

 20                                       42 U.S.C. § 1983

 21                     (As Against All Defendants For Unlawful Taking)
 22          37. By this reference, Plaintiff re-alleges and incorporates all previous paragraphs
 23   as if fully set forth herein.
 24
             38. By impounding Plaintiff’s vehicle for 30 days, Defendants physically took
 25
      possession of the Toyota from Plaintiff, ostensibly for a public purpose of deterring future
 26
      unlawful driving. Defendants, however, did not compensate Plaintiff but instead, effected
 27
      a de facto forfeiture of Plaintiff’s vehicle. Consequently, the 30-day impound constituted
 28

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  1   a “Taking” within the meaning of the Takings Clause of the Fifth Amendment to the
  2   United States Constitution.
  3          39. Defendants’ seizure of the Toyota constituted a final decision to impose the
  4   30-day impound. The Impound Policy provides no administrative remedy to challenge
  5
      the 30-day impound as violating vehicle owners’ Fourth and/or Fifth Amendment rights.
  6
      Both §14602.6 and the Impound Policy provide no compensation to a vehicle owner for
  7
      a 30-day vehicle impound. Moreover, the California Constitution, Art. III §3.5 bars the
  8
      CHP from adjudicating if a 30-day §14602.6 vehicle impound violates a vehicle owner’s
  9

 10   Fourth or Fifth Amendment rights.

 11          40. Because defendants effected a Taking of personal property without payment
 12   of compensation, Plaintiff is entitled to recover the reasonable rental value of her Toyota,
 13   for her loss of use.
 14    FOURTH CAUSE OF ACTION - VIOLATION OF CAL. CIVIL CODE § 52.1
 15
                                      (As Against All Defendants)
 16
             41. By this reference, Plaintiff re-alleges and incorporates all previous paragraphs
 17
      as if fully set forth herein.
 18
             42. The 30-day impoundment of Plaintiff’s Toyota was done intentionally, at
 19

 20   defendants’ discretion. Defendants imposed and enforced the 30-day impound so as to

 21   punish Plaintiff. Excluding possibly defendant Bailey, Defendants enforced the 30-day
 22   impound in knowing violation of the Fourth Amendment to the United States
 23   Constitution, and Art. I § 13 of the California Constitution. Further, for the reasons
 24
      previously explained, Defendants Stanley, Sampson, Braaksma, Pool and DOES violated
 25
      the Due Process provisions of the Fifth Amendment and Article I § 7 of the California
 26
      Constitution, and the Takings provisions of the Fifth Amendment and Article 1 § 19, of
 27
      the California Constitution.
 28

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  1             43. Consequently, Plaintiff’s rights under the United States and California
  2   Constitutions described above were interfered with by threat, intimidation, or coercion
  3   in violation of Cal. Civil Code § 52.1, thereby entitling Plaintiff to recover damages under
  4   Cal. Civ. Code § 52.1(b) proximately caused by the 30-day impoundment and the
  5
      attendant violations of law previously described.
  6
                44. Plaintiff timely submitted to the State of California a claim for damages under
  7
      Cal. Gov’t Code § 910 which has been denied.
  8
                       FIFTH CAUSE OF ACTION - UNLAWFUL SEIZURE
  9

 10                                    (CAL. CONST. ART. I §13)

 11                                    (As Against All Defendants)
 12             45. By this reference, Plaintiff re-alleges and incorporates all previous paragraphs
 13   as if fully set forth herein.
 14             46. The 30-day impoundment of Plaintiff’s vehicle was accomplished without a
 15
      warrant and not justified by an exception to the warrant requirement, i.e., during the 30-
 16
      day impoundment the vehicle did not present a threat to public safety. Nor was there any
 17
      process for judicial review of justification for the impound. Hence, the impound violated
 18
      Art. I § 13 of the California Constitution.
 19

 20             47. Therefore, Plaintiff is entitled to recover damages under Art. I § 13 of the

 21   California Constitution where such damages were proximately caused by the 30-day
 22   impound.
 23             48. Plaintiff timely submitted to the State of California a claim for damages under
 24
      Cal. Gov’t Code § 910 which has been denied.
 25
                                                 PRAYER
 26
                WHEREFORE, Plaintiff respectfully requests that this Court grant the following
 27
      relief:
 28

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  1         On The First Cause of Action (against All Defendants):
  2         1. That this Court award Plaintiff compensatory and punitive damages, according
  3   to proof;
  4         2. That this Court award attorneys’ fees and costs incurred in this action under 42
  5
      U.S.C. § 1988, and any other appropriate statute;
  6
            On The Second and Third Causes of Action (against Defendants Stanley, Sampson,
  7
            Braaksma, Pool and DOES):
  8
            3. That this Court award Plaintiff compensatory and punitive damages, according
  9

 10   to proof;

 11         4. That this Court award attorneys’ fees and costs incurred in this action under 42
 12   U.S.C. § 1988, and any other appropriate statute;
 13         On The Fourth Cause of Action (against all Defendants):
 14         5. That this Court award Plaintiff damages allowed under Cal. Civ. Code § 52.1(b),
 15
      including statutory damages and penalties;
 16
            6. That this Court award attorneys’ fees and costs incurred in this action under Cal.
 17
      Civ. Code § 52.1(h), and any other appropriate statute.
 18
            On The Fifth Cause of Action (against all Defendants):
 19

 20         7. That this Court award Plaintiff damages allowed under Art. I § 13 of the

 21   California Constitution;
 22         8. That this Court award attorneys’ fees and costs incurred in this action under Cal.
 23   Civ. Proc. Code § 1021.5 and California’s Private Attorney General doctrine, and any
 24
      other appropriate statute; and
 25
      ///
 26
      ///
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      ///
 28

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  1        On All Causes of Action (against all Defendants):
  2        9. That the Court award such other relief as the Court deems appropriate.
  3   DATED: March 25, 2020
  4                                 DONALD W. COOK
  5                                 Attorney for Plaintiff

  6

  7                     By___________________________________
                                    Donald W. Cook
  8

  9

 10

 11

 12

 13

 14

 15

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  1                             DEMAND FOR JURY TRIAL
  2        Plaintiff hereby demands a jury trial.
  3   DATED: March 25, 2020
  4                                  DONALD W. COOK
                                     Attorney for Plaintiff
  5

  6

  7                      By___________________________________
                                     Donald W. Cook
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                                                    DONALD W. COOK
                                                           Attorney at Law
                                           3435 Wilshire Blvd., Suite 2910, Los Angeles, CA 90010
Donald W. Cook                                   (213) 252-9444 / (213) 252-0091 facsimile


Samantha R. Koerner




                                                        October 25, 2019



                                                                                  Via Facsimile (213) 744 2856 and Mail


          Captain Charles Sampson
          California Highway Patrol
          Central Los Angeles Office
          777 W. Washington Blvd.
          Los Angeles, CA 90015

                      Re:   30 day § 14602.6 Vehicle Impound
                            Vehicle Seizure date: 10/24/19
                            Registered owner: Sevastiana Yaquelin Ordonez
                            Vehicle: 2009 Toyota Corolla / Lic. #8HAF002
                            Notice to Appear #MC93028

                                   And

                            Personnel Complaint -- CHP Officer: Sgt. Pool

          Dear Capt. Sampson:

                 I represent Ms. Ordonez regarding the October 24, 2019 seizure and impound of her vehicle,
          by a CHP officer assigned to your office. This letter is both (a) a request that the CHP release Ms.
          Ordonez’s Toyota and (b) a personnel complaint against Sgt. Pool. Regarding the personnel
          complaint, I request that the CHP investigate as state law mandates.

                   Today, Ms. Ordonez appeared at your CHP station to reclaim her vehicle. She was
          accompanied by Diego Gomez, a California licensed driver. They spoke with Sgt. Pool. First, Sgt.
          Pool refused to allow Ms. Ordonez and Mr. Gomez to record the conversation with Sgt. Pool.
          Second, even though Ms. Ordonez offered to pay all towing and accrued storage charges and even
          though Sgt. Pool was informed that Mr. Gomez, a licensed California driver, could and would
          lawfully drive Ms. Ordonez’s Toyota from the vehicle storage lot, Sgt. Pool refused to release the
          vehicle. That is, even though Sgt. Pool knew that the vehicle had current registration and was
          insured, and further knew there was no safety or other community caretaking justification that
          justified the refusal to release the vehicle, Sgt. Pool refused to do so. It appears that Sgt. Pool was
          claiming that since the vehicle was subject to a 30 day Cal. Veh. Code § 14602.6 impound, the
          vehicle could not be released unless the owner can show justification for early release per the statute
          (e.g., subdivisions (d) or (f) of §14602.6).

                 Please be advised that Sgt. Pool’s refusal to release the vehicle was wrongful and in violation
          of the Fourth Amendment. Even if there was justification under § 14602.6 for impounding the
          vehicle (I am not conceding there was statutory justification) the seizure and impound must still
          comply with the Fourth Amendment. Miranda v. City of Cornelius, 429 F.3d 858, 864-65 (9th Cir.
          2005); People v. Torres, 188 Cal.App.4th 775, 792 (2010). Furthermore, even if the initial vehicle
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 Captain Charles Sampson
 October 25, 2019
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 seizure and storage was justified under the Fourth Amendment community caretaking doctrine, the
 doctrine cannot justifying continuing to hold the vehicle for the 30 day impound period once the
 registered owner tenders towing and storage charges and has a licensed driver available to drive the
 car. Brewster v. Beck, 859 F.3d 1194 (9th Cir. 2017). Brewster means, as stated by a law firm that
 regularly advises police agencies, that

        it would constitute a Fourth Amendment violation to continue the impoundment of
        a vehicle seized pursuant to Section 14602.6(a)(1) after the time that a party who
        could lawfully possess the seized vehicle arrived to take custody of the vehicle,
        unless a warrant were obtained to continue the possession of the vehicle or an agency
        is able to articulate facts that support another exception to the warrant requirement
        of the Fourth Amendment.

 See the enclosed printout from Vol. 32 No. 15 of the Jones & Mayer advisory (also available at
 http://www.jones-mayer.com/news/2017/06/27/vol-32-no-15-ninth-circuit-court-of-appeal-
 holds-californias-30-day-vehicle-impound-law-violates-4th-amendment/).

         The refusal to release Ms. Ordonez’s Toyota violated clearly established law. See the
 aforementioned Brewster decision, and Sandoval v. County of Sonoma, 912 F.3d 509 (9th Cir. 2018)
 (holding that a § 14602.6 thirty-day impound violates the federal constitution). Because the law is
 clearly established, Sgt. Pool along with any CHP officer who refuses to release Ms. Ordonez’s
 vehicle upon the facts as stated above, is subject to punitive damages under the federal civil rights
 act. And you may recall from your supervisory training, the officer, not the CHP or the State of
 California, pays the punitive damages. So if the CHP continues to refuse to release Ms. Ordonez’s
 Toyota, on her behalf I will seek judicial relief. That relief will include holding responsible in
 monetary damages, compensatory and punitive, each and every CHP officer responsible for the 30
 day impound in violation of law. See Angelica R. Untalan v. Warren A. Stanley, et al., U.S.D.C. No.
 2:19-cv-7599 (Central District of California).

        You and Sgt. Pool may want to seek the advice of legal counsel.

                                              Sincerely,



                                          Donald W. Cook

 DWC:ms
 enc

 cc:    CHP Commissioner Warren A. Stanley
               and
        California Highway Patrol
        Office of Legal Affairs
        P.O. Box 942898
        Sacramento, CA 94298




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